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                              UNITED STA TES D ISTRICT CO URT
                              SO U TH ERN D ISTRICT O F FLO R IDA
                             CASE N O.l4-24887-M C-SElTZ/TURN O FF

 IN RE APPLICATION OF HORN BEAM CO RPORATION ,

         A pplicant,

 Ex Parte RequestforDiscovery Pursuantto
 28U.S.C.j1782
                                                          /

                   O RDER AD O PTING R EPO R T A ND R EC O M M EN DATIO N
                           AN D G M N TING M O TION TO STA Y

         THISMATTER isbeforetheCourtontheReportandRecommendationtûûRepor1''l(DE 491,
 addressing lntervenorsPankiosSymeouand HalliwelAssets,Inc.'s(sslntervenors'')M otionto Stay
 ProceedingsPendingAppealtotheEleventhCircuitgDE 281,ApplicantHornbeam Corporation's
 (Csldornbeam'')OppositiongDE 351,andlntervenors'ReplyrDE 431.TheReportrecommends
 grantinglntervenors'MotiontoStay.Hornbeam filedobjectionstotheReport(DE 501,lntervenors
 filedaresponse(DE 5l),andHornbeam filedaReply(DE 531.1
                 Standard ofR eview

         The Courtreviewsa Reportand Recom m endation regarding non-dispositive m atters,such as

 a m otion to stay proceedings,forclearerrororcontrarinessto the law .See,e.g.,M ontgomery v.

 Risen,20l5W L 5167628,at*2(S.D.Fla.Sept.3,2015).
                                                ,Fed.R.Civ.P.72(a).Hornbeam argues
 thatbecause M agistrate Judge Turnoffissued a Ssreport''ratherthan an ûûorder,''the Courtm ust

 review denovounderFed.R.Civ.P.72(b).(DE 53at21.itg-l-lheappropriatestandardofreview
 (howeverlturnsonwhether(themagistrate'slrulingsconcerndispositiveornondispositivematters.''
 Pigottv.SanibelDevelopment,LLC,2008 W L 2937804 at*3(S.D.Ala.July23,2008).Rule72(a)
 instructsthe districtcourtto review nondispositive m attersforclearerrororcontrarinessto the law .




 1Subpoenarecipients(iûlkespondents'')filedaM otionto Join lntervenors'M otion to Stay ProceedingsPending
 AppealtotheEleventhCircuit(DE301andaMotiontoJoinlntervenors'ResponsetoHornbeam'sObjectionstothe
 Report(DE 521.
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 Because the instantReportconcernsa non-dispositive m otion to stay,the Courtw illreview the

 Reportforclearerror.

        Clearerrorisahighlydeferentialstandardofreview.Holtonv.Cityofln
                                                                      homasvilleSchool
 Dist.,425F.3d l325,1350(11thCir.2005).CûgAIfindingisclearlyerroneouswhenalthoughthereis
 evidenceto supportit,the review ing courton the entire evidence isleftw ith the definite and firm

 convictionthatamistakehasbeencommitted.''1d.(citationandquotationsomitted).Forthereasons
 discussedbelow,theCourtaffirmsandadoptstheReport,overrulesallobjections,andgrants
 lntervenors'M otion to Stay.

        II.     Background

        The Reportoutlinesthe contentioushistory ofthiscase. ltarisesoutofHornbeam and

 lntervenors'jointventurerelatedtothemanagementofasteelfactory.Therelationshipdeteriorated
 and Hornbeam filed claimsagainstitspartnersinthe British Virgin lslands($iBVI'')inAugust2014.
 (DE 28at6).TheclaimsweredismissedandjudgmentwasenteredagainstHornbeam onDecember
 18,2015,for$846,526inattorneys'feesandcosts.gDE49at21.Thejudgementwasnotappealed.
 Hornbeam then Gled numerous28U.S.C.j l782 applicationsinAlabama,Delaware,New York,
 Ohio and Florida.1d.

        ThisCourtgranted the Florida application in February 20l5,butno subpoenaswere served

 untilMarch2016.Intheinterim,Hornbeam litigateditsotherjl782applications,includingan
 application in theN orthern D istrictofA labam a.The A labam a application w asgranted in M ay 20l5,

 afterwhich,lntervenorsGled m otionsto vacateand to stay. Both m otionswere denied and

 Intervenorsappealed to the Eleventh Circuit. Thatappealispending w ith oralargum entsetforJuly

 14,2016.(DE 28at9-101.
         OnApril6,2016,lntervenorsmovedtostaytheFloridaaction(DE 281.MagistrateJudge
 Turnoffheld a hearing on April20,2016,and issued a Reporton June 24,20l6.



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         111.   Analysis

         The relevantconsiderationsfordeterm ining whethertostay 28U.S.C.j l782 proceedings
 are(l)inttrnationalcomity;(2)fairnesstolitigants'
                                                 ,and(3)judicialeftsciency.InreAlvesBraga,
 789 F.Supp.2d 1294,1308(S.D.Fla2011).The Reportrecommendsastay,finding itboth
 judiciallyefficientandfairto the parties.z Specifically, theReportconcludesthattheEleventh
 Circuitappealfrom theNorthernDistrictofAlabamamayhaveadispositiveeffectonthiscase.(DE
 49at5(citingMichaelv.Ghee,325F.Supp.2d 829,833(N.D.Ohio2004)1.lnaddition,theReport
 findsthata stay posesno additionalharm to Hornbeam given Hornbeam 'syear-long delay in serving

 subpoenasand its inability to use discovery pending the Eleventh Circuitappeal.

        Hornbeam objectstotheReport'sfairnessconclusions.First,Hornbeam arguesthatthe
 Reportfailsto considerthe Alabam a D istrictCourt'sdenialofIntervenors'm otion to stay based on

 potentialharm to Hornbeam . The Report,how ever,does considertheA labam a order,w hich

 Hornbeam quotedgDE 359-10J,andinfact,notesHornbeam'sreferencetoit(DE 7at491.
 M oreover,the Reportaddressesthe sam e potentialharm asaddressed in the A labam a order-

 Hornbeam 'sdim inishing ability to usethe requested discovery. The Reportsim ply balancesthat

 harm w ith the costly and tim e-consum ing discovery processIntervenors face ifthe stay is denied.

 W eighing these relative harm s,the Reportfindsthata stay is fairand posesno additionalhann to

 eitherparty.(DE 49at61.lnlightoftheoralargumentsscheduledforthisweekintheAlabama
 appeal,aswellasRule1oftheFederalRulesofCivilProcedure,whichmandatesaûjust,speedy,
 and inexpensive''determ ination ofevery action,the stay servesasa reasonable and tem porary cease-

 firebetweenpartiesthatseem moreinterestedinatotalvictorythanajudiciousoutcome.
        Hornbeam nextarguesthatitsdelayinservingsubpoenaswasjustifsedandthattheReport
 erroneously faultsH ornbeam forthe delay.The Courtdisagrees.Hornbeam addressed its reasonsfor

 delay attheApril8,2016hearing,arguing inopen courtthatitscounselwasbusy litigatingotherj

 2TheReportdoesnotanalyzetherequestedstay'seffecton internationalcom ity. gDE 49at61.Hornbeam didnot
 objecttotheReport'ssilenceinthisregard.
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 1782applicationsandthattheFloridadiscoverywasnotpressinguntilMarch2016.(DE 36(Hr'g
 Tr.31:3-25)1.From that,theReportfindsthatHornbeam isresponsibleforitsowndelayandthata
 staycreatesnoadditionalprejudice.TheCoul'
                                         tfindsnoclearerrorinthisregardandtheobjectionis
 overruled.

         H ornbeam also contendsthatJudge Turnoff'sfairnessconclusionswere based in-parton

 etblatantm ischaracterizations''ofHornbeam 's inability to proceed in thc BV I,3thusdownplaying the

 potentialharm ofastay.gDE 50atl,6).lntervenorsargueinresponsethattheReportSûproperly
 determinedthatobjectorspreviouslyarguedthattheywillnotinitiatefurtherproceedingsinthe
 BVl.''(DE 5lat121. lnterestingly,neitherparty supportstheirpositionwith BVllaw orcourt
 procedure,makingitclear,onceagain,thattheyarelessconcernedwiththejointventuredisputeand
 m ore focused on w inning a gam e ofi'he said,she said.'' The CourtnotesthatH ornbeam failed to

 articulateanyobjectiontothesetûblatantmischaracterizations''priortotheReport.Thus,itwas
 reasonable forthe Reportto rely on Intervenors'statem ents in itsanalysis. lntervenors'statem ents

 notw ithstanding however,the Courtfindsthe Report'sconclusionsto be unchanged. A stay posesno

 additionalharm to Hornbeam otherthan the harm itcreated for itselfby itsow n litigation strategy.

 W eighed againstthe resourcesthatw illbe saved pending the Eleventh Circuitappeal,the stay is

 appropriate.

         Finally,Hornbeam objectstotheReport'sfailuretoconsideritsproposalstodelayrulingon
 theMotion.Thisobjectioniswithoutmerit.TheReportstates,ûlliltmakesIittlesensetoundertake
 the herculean task ofplodding through the m otionswhen one decision ...could invalidate the entire

 case.''(DE 49at51.TheCourtreadsthisasarejectionofHornbeam'sdelayproposals.lfthe


 3Intervenorsstated in theirM otion to Stay:btl-lornbeam madeclearinAlabamathatitonly ûçplansto initiate
 (litigationintheBVl)afterobtainingsufticientdiscoverytosupportitsclaims,''andthatthediscoveryitseeksin
 Alabam a ûisboth relevantand crucial...priorto initiatingfurtherlitigation inthe BV Iorelsewhere.'SeeBracha's
 j l782 Application,Ex.7 ...lnshort,Hornbeam representedthatitcannot(orwillnot)51eanew suitinthe BV1
 untilitreceivesdiscovery inA labam a.BecausetheEleventhC ircuithasstayedthatdiscovel'y,Hornbeam cannotbe
 prejudicedbyastayhere,givenitisjudiciallyestoppedfrom changingthepositionittooktojustifydiscoveryin
 Alabama.''gDE28at16-17).
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 Eleventh Circuitaffil'm sthe N orthern D istrictofA labam a,thisCourtcan very efficiently setthe

 scope ofthe perm itted discovery and im pose appropriate conditionsasnecessary.

         Finding no clearerrorin the Report,itisaccordingly

         ORDERED THA T

                Respondents'M otion to Join Intervenors'M otion to Stay Proceedings Pending

 AppealtotheEleventhCircuit(DE 301isGRANTED.
         (2)    Respondents'M otiontoJoinIntervenors'ResponsetoHornbeam'sObjectionstothe
 Report(DE 52)isGRANTED.
                The Reportand Recom m endation on lntervenors'M otion to Stay Proceedings

 PendingAppealtotheEleventhCircuitgDE 49)isAFFIRM ED AND ADOPTED.
                ApplicantHornbeam'sObjections(DE 501areOVERRULED.
         (5)    lntervenors'MotiontoStayProceedingsPendingAppealtotheEleventhCircuit(DE
 281isGRANTED.
        (6)     THE CASE IS STAYED pending adecisionbytheEleventh CircuitCourtof
 A ppealsin HalliwelAssets,Inc.,etalv.Bracha Foundation,No.l5-14913. W ithin 14 daysofa

 decision from the Eleventh Circuit,the partiesshallprovide notice ofthe Eleventh Circuitdecision

 and m ove to liftthe stay.

        (7)     Respondents'UnopposedMotiontoExtendStipulatedDeadlinesisDENIED AS
 M O OT in lightofthe stay.

        DONEANDORDERED inMiami,Florida,thisZS dayofJuly,2016.
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                                               PA TRICIA A .SEITZ
                                               UN ITED STATES D ISTRICT JUDG E
        A l1counselofrecord
        H on.W illiam C.Turnoff




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